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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA

   UNITED STATES OF AMERICA ex
   rel.,

  KELLI WILLIAMS,

                     Plaintiff-Relator
                                               Civil Action No.
                                               1:18-CV-0680-SCJ
           v.

  THE SOUTHERN COMPANY, INC.;
  SOUTHERN COMPANY SERVICES,
  INC.; and MISSISSIPPI POWER
  COMPANY;

                     Defendants.



 PLAINTIFF-RELATOR’S RESPONSE TO DEFENDANTS’ MOTION TO
POSSESS & OPERATE ELECTRONIC DEVICES IN THE COURTHOUSE

      NOW COMES Plaintiff-Relator KELLI WILLIAMS, through her counsel

LOEVY & LOEVY, and responds as follows to Defendants’ motion to possess and

operate electronic devices in the courtroom (Dkt. 40) during the hearing scheduled

for July 31 on Defendants’ pending motion to dismiss (Dkt. 27):

      In support of their motion to possess and operate electronic devices,

Defendants explain that they intend to “to display materials during Defendants’
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presentation and argument.” Plaintiff-Relator Williams (“Relator”) does not object

to Defendants’ motion, assuming she is afforded the same ability as Defendants to

possess and operate electronic devices during the hearing.

      Relator, however, requests that any order granting Defendants’ motion

regarding electronic devices also require them to provide Relator, at least two weeks

in advance of the hearing, with any evidence or exhibits they intend to display during

the hearing. Relator would thus be enabled to prepare rebuttal materials or make any

appropriate objections.

Dated: July 2, 2024                    Respectfully submitted,

                                       s/ Julia Rickert

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                           Attorneys for Relator Kelli Williams
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                        CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1(D), I hereby certify that this motion has been

prepared in Times New Roman, 14-point font, which is one of the fonts approved

by Local Rule 5.1(C).



Dated: July 2, 2024

                                            /s/ Julia Rickert
                                            Julia Rickert
                                            One of Relator’s Attorneys
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                          CERTIFICATE OF SERVICE
      I hereby certify that I electronically filed the above Response with the Clerk

of Court using the CM/ECF system, which will automatically send e-mail

notifications of such filing to all counsel of record.



Dated: July 2, 2024

                                               /s/ Julia Rickert
                                               Julia Rickert
                                               One of Relator’s Attorneys
